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                           THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

Niameh A. Tyehimba,                             )
                                                )           Case No. 22-cv-01139
                      Plaintiff,                )
                                                )
       vs.                                      )           Judge Mary M. Rowland
                                                )
Cook County, C.O. Gondek,                       )           Magistrate Judge Sheila M. Finnegan
C.O. Lewis, CCDOC Medical Staff,                )
                                                )
                      Defendants.               )

             NOTICE OF WITHDRAWAL AND SUBSTITUTION OF COUNSEL
                           WITHIN THE SAME FIRM

PLEASE TAKE NOTICE that on March 18, 2024, Special Assistant Cook County State’s Attorney
Troy S. Radunsky, of DeVore Radunsky LLC, withdraws his appearance for Defendant C.O. Gondek, and
pursuant to Local Rule 83.17, Special Assistant Cook County State’s Attorney Jorie R. Johnson
substituted her appearance for said Defendant.

                                            Respectfully Submitted,

                                            DeVore Radunsky LLC

                                      By:   /s/ Jorie R. Johnson
                                            Jorie R. Johnson (ARDC No. 6342749)
                                            Special Assistant State’s Attorney
                                            230 W. Monroe, Ste 230
                                            Chicago, IL 60606
                                            312-300-4479
                                            Email: jjohnson@devoreradunsky.com

                                    CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that the above NOTICE OF WITHDRAWAL AND
SUBSTITUTION OF COUNSEL WITHIN THE SAME FIRM, was filed on March 18, 2024, with the
Northern District of Illinois ECF System, serving a copy on all parties.

                                            /s/Jorie R. Johnson
                                            Jorie R. Johnson
